              Case 96-54979        Doc 1241    Filed 11/08/07      Page 1 of 10




                    IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE DISTRICT OF MARYLAND
                                (Northern Division)

In re                                          *

G. WARE TRAVELSTEAD                            *       Case No. 96-54979-DWK
                                                       (Chapter 11)
         Debtor.                               *

*        *      *      *       *       *       *       *       *       *       *      *

                         APPLICATION FOR PAYMENT OF
                        ADMINISTRATIVE EXPENSE CLAIM

         Extra Space Management, Inc. (“Extra Space”), by its undersigned counsel, files

this Application for Payment of Administrative Expense Claim and in support, states as

follows:

                                       I.      FACTS

                                   A. The Bankruptcy Case

         1.     On May 31, 1996 (the “Petition Date”), G. Ware Travelstead (the

“Debtor”) filed a Voluntary Petition for relief under Chapter 11 of the Bankruptcy Code.

         2.     On December 31, 1997, this Court confirmed the Debtor’s Third Modified

Fourth Amended Plan of Reorganization (the “Plan”). Also on December 31, 1997, this

Court entered an Order (the “Order”) appointing Joel I. Sher as the Liquidating Agent in

conformity with the terms of the Plan. Pursuant to the terms of the Plan and the Order,

the Liquidating Agent has “the right and standing to pursue and defend any claims or

rights of actions in respect to the property of the estate or of the debtor” (Order at 3) and

has “all of the rights, duties, obligations, and powers of a trustee including, but not

limited to, those set forth in § 704(1) and 1106 of the Bankruptcy Code.” Plan at Art.

6.5(a). Since his appointment, the Liquidating Agent has sought to liquidate and



#742684v.1
                                              1
              Case 96-54979      Doc 1241     Filed 11/08/07     Page 2 of 10




administer assets for the benefit of creditors. The assets that the Liquidating Agent has

liquidated include not only assets owned directly by the Debtor but also those owned by

those business entities in which the Debtor has a direct and/or indirect ownership, such as

The Travelstead Group, Inc.

                       B. The Storage Space Rental Agreements

         3.     Extra Space Management, Inc., successor-in-interest to Storage USA, Inc.

(“Extra Space”), owns and operates a large number of personal property storage facilities

throughout the country, including a facility located at 1699 Baltimore Annapolis

Boulevard, Arnold, Maryland (the “Storage Location”).

         4.     Prior to the Petition Date, The Travelstead Group, Inc. (“Travelstead”), a

business entity in which the Debtor has direct and/or indirect ownership, entered into an

agreement with Storage USA, Inc. (“Storage”) entitled Storage USA Rental Agreement

dated November 2, 1992 (the “First Contract,” a copy of which is attached hereto and

incorporated herein as Exhibit A). Pursuant to the First Contract, Storage agreed to

permit Travelstead to store personal property in a personal storage space unit referred to

as Unit No. 16 (the “Storage Space”) at the Storage Location. In exchange, the First

Contract provided that Travelstead would make monthly payments to Storage in the

initial amount of $230.00. The monthly payment was due on the first day of each month.

Over time, this monthly fee increased to $478.00 and later $517.00. The First Contract is

a month-to-month rental agreement, automatically renewed every month under certain

conditions.

         5.     Later, the First Contract was assigned by Storage to its successor-in-

interest, i.e., SUSA Partnership L.P. (“SUSA”).




#742684v.1
                                              2
              Case 96-54979      Doc 1241     Filed 11/08/07     Page 3 of 10




         6.     Later, the Debtor and/or another business entity in which the Debtor has

direct and/or indirect ownership, i.e., Venture Concept (“Venture”) entered into two

agreements with SUSA entitled Storage USA Rental Agreement - State of Maryland

dated August 1, 1995 and October 25, 1997 (the “Second and Third Contracts,” copies of

which are attached hereto and incorporated herein as Exhibits B and C). Pursuant to the

Second and Third Contracts, SUSA agreed to permit the Debtor and Venture to store

personal property in two personal storage space units referred to as Unit No. 352 (the

“Second Storage Space”) and Unit No. 59 (the “Third Storage Space”) at the Storage

Location. In exchange , the Second and Third Contracts provided that Venture would

make monthly payments in the initial amount of $159.00 and $209.00 respectively.

These rental payments were also due on the first day of each month. Over time, the

monthly fees increased to $309 and $325 for Unit No. 352, i.e., the Second Storage Space

and $358 and $376 for Unit No. 59, i.e., the Third Storage Space. The Second and Third

Contracts were also month-to-month rental agreements, automatically renewed every

month under certain conditions.

         7.     Later, the First, Second and Third Contracts (collectively, the “Contracts”)

were assigned by SUSA to Extra Space Management, Inc. (“Extra Space”), the movant

herein. Accordingly, Extra Space is the current landlord for the Storage Location.

         8.     After the Liquidating Agent was appointed, the Liquidating Agent

continued to use the storage space in Units Nos. 16, 352 and 59 at the Storage Location to

store personal property. Although the Liquidating Agent fell behind in paying the rental

fees for these three units, he made a catch-up payment in May 2006 for all rent arrearages

owed for the months of January through May 2006.




#742684v.1
                                             3
               Case 96-54979      Doc 1241      Filed 11/08/07     Page 4 of 10




         9.       Significantly, however, the Liquidating Agent has not paid any of the

storage fees for all three units since July 1, 2006! Accordingly, on March 15, 2007,

counsel for Extra Space sent to the Liquidating Agent’s paralegal, i.e., Ann Lawrence, a

letter informing her of the Liquidating Agent’s failure to pay the rent owed for the past

nine months, i.e., July, 2006 through March 2007. See Letter, attached hereto as Exhibit

D. The total arrearages owed through March, 2007 were $10,597.00. Thereafter, the

Liquidating Agent still did not pay the outstanding arrearages. Despite at least a half a

dozen telephone calls to the Liquidating Agent and/or his paralegal over the following six

months plus an e-mail to the Liquidating Agent regarding the need to pay these

arrearages, and the Liquidating Agent’s assurance that the fees would be paid current, the

Liquidating Agent has not paid these arrearages. In a conversation with Extra Space’s

counsel, the Liquidating Agent acknowledged that he was keeping files and documents in

the storage units and that ultimately he needed to arrange for the removal of such

paperwork from the storage units to halt the accrual of additional rental fees.

         10.      Because the arrearages were not, in fact, paid, Extra Space’s counsel sent

a second letter to the Liquidating Agent on September 5, 2007, a copy of which is

attached hereto as Exhibit E. Pursuant to this letter, Extra Space maintained that if the

arrearages were not paid within the next 10 days, then Extra Space would have no other

choice but to file motions seeking relief from the automatic stay to obtain the removal of

personal property from the Storage Location and seeking payment of these arrearages and

any attorneys’ fees incurred in collecting the arrearages. See Exhibit E.

         11.      Despite the September 5, 2007 letter, the Liquidating Agent has not paid

the arrearages.




#742684v.1
                                               4
               Case 96-54979       Doc 1241       Filed 11/08/07     Page 5 of 10




         12.      Pursuant to ¶ 31 of the Contracts, Extra Space is entitled to receive

payment of all reasonable attorneys’ fees and costs it incurred in collecting the rent owed

under the Contracts and/or in enforcing its rights under the Contracts.

         13.      The postpetition rent arrearages now total $20,268.00 (the “Arrearages”)

and includes rent for all three units from July 2006 through November 1, 2007. A

breakdown of the Arrearages owed to Extra Space is set forth on Exhibit F, attached

hereto and incorporated herein. In addition, Extra Space has incurred attorneys’ fees and

costs in seeking payment of the Arrearages and in prosecuting this Motion and a motion

for relief from automatic stay in the amount of $2,804.00.

                                     II.     ARGUMENT

             A.    Liquidating Agent Should Be Required to Immediately Pay
                   Extra Space the Post-Petition Rent as An Administrative Expense

         14.      After the Petition Date, the Liquidating Agent failed to pay Extra Space

the Arrearages owed under the Contracts. Significantly, however, the Liquidating Agent

was and is required by § 365(d)(3) to timely pay this post-petition rent. Section 365(d)(3)

provides:

                      [t]he trustee shall timely perform all the obligations of
                  the debtor, except those specified in section 365(b)(2),
                  arising from and after the order for relief under any
                  unexpired lease of nonresidential real property, until such
                  lease is assumed or rejected, notwithstanding section
                  503(b)(1) of this title.

Generally, the rule is that the effective date of rejection, and the date through which

administrative rent must be paid, is the date of entry of the order authorizing such

rejection, assuming that the debtor has previously vacated the premises. See Norritech v.

Geonex Corporation, 204 B.R. 684, 691 (D. Md. 1997), aff’d 120 F.3d 260, 261 (4th Cir.




#742684v.1
                                                 5
               Case 96-54979     Doc 1241      Filed 11/08/07     Page 6 of 10




1997) (landlord entitled to administrative rent from the petition date to date court

approved rejection of lease); Towers v. Chikering & Gregory (In re Pacific-Atlantic

Trading Co.), 27 F.3d 401 (9th Cir. 1994) (holding that landlord was entitled to full

contract rate of rent from order for relief through rejection of lease); Geonex Corp. v.

Vernon Graphics, Inc., 258 B.R. 336 (Bankr. D. Md. 2001) (trustee required to pay

landlord rent under an unexpired lease from petition date through date court approved

rejection of lease).

         15.     Moreover, applicable case law and the legislative history for § 365(d)(3)

make abundantly clear that the amount of rent required to be paid by a debtor is the

contract rate of rent specified in the lease. See In re Pacific-Atlantic Trading Co., 27

F.3d 401 (9th Cir. 1994); Norritech v. Geonex Corp., 204 B.R. 684 (D. Md. 1997) (no

requirement that landlord demonstrate a benefit to the estate), aff’d 120 F.3d 260, 261 (4th

Cir. 1997); In re Geonex Corp., 258 B.R. 336 (Bankr. D. Md. 2001) (landlord’s rent

claim is based on contract rate of rent and not upon any theory of benefit to the estate;

thus landlord entitled to full rent even if debtor did not occupy the leased premises during

the post-petition, pre-rejection period).

         16.     The Liquidating Agent’s failure to timely pay the Arrearages to Extra

Space is a violation of § 365(d)(3). This result should be rectified immediately. The

Liquidating Agent has had the benefit and use of the three storage units for almost a year

and a half. Despite past payment of the rent for these three storage units and an oral

assurance by the Liquidating Agent that the Arrearages would be paid, they have not

been paid and now the Arrearages total $20,268.00. Extra Space has been substantially

prejudiced in that it has not been paid by the Liquidating Agent for almost a year and a




#742684v.1
                                              6
               Case 96-54979     Doc 1241       Filed 11/08/07    Page 7 of 10




half and has now had to incur legal fees to obtain payment of the Arrearages. Extra

Space should not be made to suffer any further economic harm. The non-payment of

these Arrearages is especially inequitable in light of the fact that the Liquidating Agent

and his law firm have sought and obtained approval to pay their own fees. The

Liquidating Agent should be required to immediately pay Extra Space the Arrearages

through the date that the Liquidating Agent fully vacates the three storage units and

removes all personal property stored therein.

         17.     In addition to the Arrearages, Extra Space seeks, as an administrative

priority, payment of its attorneys’ fees incurred in collecting the Arrearages (the

“Attorneys’ Fees”), as permitted under Section 31 of the Contracts. See In re Geonex,

258 B.R. 336, 340-341, 342-343 (Bankr. D. Md. 2001) (landlord entitled to counsel fees

incurred in enforcing its right to payment of rent); see also In re Thinking Machines

Corp., 67 F.3d 1021, 1023, 1029 (1st Cir. 1995) (reversing district court’s decision which

reversed bankruptcy court decision which had, in part, required payment of rent plus

accrued interest). Attorneys’ fees have been routinely allowed in this jurisdiction based

on the reasoning in In re Geonex where a landlord is left with no alternative but to hire

counsel to enforce its rights to collect payment of rent.

         WHEREFORE, Extra Space respectfully requests that this Court

                 (i)    order the Liquidating Agent to pay Extra Space within 10 days of

entry of an Order granting this Application pursuant to § 365(d)(3), the Arrearages,

Attorneys’ Fees and any additional attorneys’ fees incurred after the filing of this

Application in prosecuting Extra Space’s rights under the Contracts; and




#742684v.1
                                              7
             Case 96-54979     Doc 1241       Filed 11/08/07      Page 8 of 10




               (ii)   grant such other relief as is just and equitable.


Date: November 7, 2007                        /s/ Mary Fran Ebersole
                                              Mary Fran Ebersole, Bar No. 08729
                                                Tydings & Rosenberg LLP
                                                100 East Pratt Street, 26th Floor
                                                Baltimore, Maryland 21202
                                                (410) 752-9700
                                                mebersole@tydingslaw.com

                                              Attorneys for Movant, Extra Space
                                              Management, Inc.




#742684v.1
                                             8
             Case 96-54979       Doc 1241      Filed 11/08/07   Page 9 of 10




                              CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on the 7th day of November, 2007, a copy of the

Application for Payment of Administrative Expense Claim was served electronically or by

first-class mail, postage prepaid, on:

         Joel I. Sher, Esquire
         Richard Goldberg, Esquire
         Shapiro Sher Guinot & Sandler
         36 South Charles Street, 20th Floor
         Baltimore, MD 21201

         Javier Faus Santasusana, Esquire
         Edificio “Blue Building” Av. Litoral Mar, 12-14, 1°
         08005, Barcelona, Spain

         Edward T. McDermott, Esquire
         Pollack & Kaminsky
         114 West 47th Street, 19th Floor
         New York, NY 10036

         Paul M. Nussbaum, Esquire
         Stephen F. Fruin, Esquire
         Whiteford, Taylor & Preston
         7 Saint Paul Street
         Baltimore, MD 21202-1626

         Mark A. Neal, Esquire
         Office of the U.S. Trustee
         Garmatz Federal Courthouse
         101 West Lombard Street, Suite 2625
         Baltimore, Maryland 21201

         Benjamin Rosenberg, Esquire
         Rosenberg Martin Greenberg LLP
         2115 Allfirst Building
         25 South Charles Street
         Baltimore, MD 21201

         G. Ware Travelstead
         1709 Dey Cove Drive
         Virginia Beach, VA 23454




#742684v.1
                                               9
             Case 96-54979      Doc 1241       Filed 11/08/07    Page 10 of 10




         Cameron MacDonald, Esquire
         Whiteford Taylor & Preston L.L.P.
         Seven Saint Paul Street, Suite 1400
         Baltimore, MD 21202


                                                /s/ Mary Fran Ebersole
                                                Mary Fran Ebersole




#742684v.1
                                               10
